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                            UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF CALIFORNIA
                                 OAKLAND DIVISION


 EPIC GAMES, INC.,                                    Case No. 4:20-cv-05640-YGR-TSH
              Plaintiff, Counter-defendant,
                   v.
 APPLE INC.,                                          OBJECTIONS TO CERTAIN SPECIAL
                   Defendant, Counterclaimant.        MASTER DETERMINATIONS
                                                      REGARDING REDACTED
                                                      DOCUMENTS



The Honorable Thomas S. Hixson
San Francisco Courthouse
Courtroom E - 15th Floor
450 Golden Gate Avenue
San Francisco, CA 94102

Dear Magistrate Judge Hixson,
        Pursuant to Section 4 of the Joint Stipulation and Order Approving Privilege Re-Review
Protocol (Dkt. 1092) (the “Protocol”) and the Order amending the Protocol to extend the time for
Epic to object to determinations regarding redacted documents (Dkt. 1352), Epic respectfully
submits the following Objections to certain of the Special Masters’ privilege determinations
regarding redacted documents issued between February 12, 2025, and March 10, 2025.
         Epic recognizes the significant burden of these objections and is sensitive to the
diminishing utility of obtaining similar or duplicative documents following the completion of the
evidentiary hearings from February 24-26, 2025. Epic is therefore limiting its objections below
to documents that it believes may meaningfully supplement the already extensive record
established at the evidentiary hearings or to preserve the proper redactions for the exhibits used
at the hearing. Epic, of course, cannot “see underneath” the redactions and is therefore unable to
fully assess the utility and privileged nature of the redacted text; however, Epic has, to the best of
its ability, focused these challenges on the documents with privilege log entries and surrounding
context to support an inference of utility and an improper assertion of privilege.
         Epic respectfully requests that the Court review the following documents in camera and,
where appropriate, reject Apple’s privilege assertions pertaining to these documents, in whole or
in part.
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Email about Project Wisconsin / Injunction Compliance
        PRIV-APL-EG_00149895 is an email chain among Apple business employees, including
business executives (Phil Schiller, Eddy Cue, Matt Fischer and Carson Oliver), as well as
lawyers. The latest email in the chain is from the evening of May 31, 2023—the day before the
June 1 meeting with Tim Cook at which Apple employees first floated various compliance
options and analyses to Mr. Cook. The email subject is “Epic injunction (Project Wisconsin) --
rules for entitlement[]agreement”. The information in this email is therefore highly relevant to
the underlying contempt proceeding.
        Apple’s privilege log claims the redacted text is privileged because it “reflect[s]
information for the purpose of rendering legal advice with counsel regarding injunction
compliance analysis of commission rate”. Redactions cover the comments of Mr. Schiller, who
is not an attorney, regarding presentation slides. (PRIV-APL-EG_00149895 at ‘896.) Nearly
half a page of redactions cover more of Mr. Schiller’s comments on page ‘899. Mr. Schiller’s
comments on these types of decks do not usually provide or seek legal advice, as seen in other
exchanges where Mr. Schiller provides such comments. (See, e.g., CX-224 at 224.01 (Mr.
Schiller stating “Thanks for sharing this draft presentation[.] Here are my notes”.).) Epic sees no
basis in the document or the privilege log justifying these redactions.
Email Among Press Personnel
         PRIV-APL-EG_00154229 is an email chain among Apple press and communications
professionals Fred Sainz, Marni Goldberg, Hannah Smith and Peter Ajemian. The email title is
“[Notes] Wisconsin PR Plan”. The redacted language in the email involves a request by Mr.
Sainz that Mr. Ajemian reach out to “Mike”—likely Worldwide Developer Marketing Senior
Manager Mike Tam—with a draft email from Mr. Ajemian to Mr. Tam. Apple’s privilege log
states that the “redacted text reflect[s] information for the purpose of obtaining legal advice from
counsel regarding injunction compliance press and communications legal strategy”. But Mr.
Tam is not a lawyer and cannot give privileged legal advice, and the privilege log does not
identify a “Mike” who is a lawyer. And notably, although Apple counsel Jen Brown and Ling
Lew are copied lower on the email chain, they do not participate and none of the portion of the
email on which they are copied is redacted. Epic sees no basis in the document or the privilege
log justifying these redactions.
Email Regarding Analysis Group Work
        PRIV-APL-EG_00200628 is an email chain between a number of individuals from Apple
and Analysis Group, a third-party consulting and strategy group that Apple purportedly hired to
provide, in part, business and financial analyses relating to Apple’s work in response to this
Court’s Injunction. Five out of six Apple employees copied on the email chain are non-lawyers,
including individuals heavily involved in Apple’s Injunction response work such as
Carson Oliver and Timothy Kim; only one Apple in-house counsel, Jason Cody, is copied. Apple
has redacted what appears to be a “recap” of a meeting held among the individuals on the email
chain relating to a “Fee Comparison Study” (PRIV-APL-EG_00200628 at ‘630-‘631). The
meeting “recap” was sent by Ashley Ohm, a non-lawyer business operations employee at Apple,
and there is no indication that the contents of the notes reflect legal advice given by the one
lawyer participant in a meeting of at least 12 attendees—making it unlikely that the entire
meeting consisted of attorney-client legal advice. Apple tries to claim in its privilege log that

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Analysis Group’s work was “prepared at the direction of counsel”, yet does not make the claim
that the document contains protected work product (only that it is a privileged communication).
       Apple additionally redacted a brief discussion of what the same team would discuss
during a meeting the following week (PRIV-APL-EG_00200628 at ‘629). The email was sent by
Lydia Luk, a non-lawyer engineering program manager at Apple. A topic to be discussed by
Analysis Group and Apple employees is not legal advice nor a request for legal advice. Epic
sees no basis in the document or the privilege log justifying these redactions.
Email Containing App Store Meeting Agenda
        PRIV-APL-EG_00123814 is an email from Matt Fischer, former Vice President of
Worldwide App Store and a witness in the contempt hearing last May. In the email, Mr. Fischer
shares the agenda for an “App Store Weekly Staff” meeting with 28 Apple employees—only two
of whom are in-house counsel (Jason Cody and Sean Cameron). Apple has redacted an entire
page of notes under the heading, “Epic trial verdict”. (PRIV-APL-EG_00123814 at ‘815.)
Apple claims in its privilege log that the redacted text reflects a conversation regarding “user
design and interface”—a topic that is not primarily or inherently legal, even if discussed in the
context of a trial verdict. Epic sees no basis in the document or the privilege log justifying these
redactions.
Email Containing Meeting Notes
        PRIV-APL-EG_00224925 is an email chain entitled “Notes from <10/11> Wisconsin
Alignment”. Apple witness Kunal Vij is a custodian. Apple’s privilege log states that the
“redacted text reflect[s] legal advice from counsel regarding injunction compliance launch date
and timing”. However, the only redacted text in the document (at bates ‘928) covers “highlights”
from a “Wisconsin Alignment” call which Apple business and finance personnel (including Nate
Barton, Mr. Vij and Eric Gray), developers and legal personnel attended. The summary of the
call appears to be widely distributed. Epic sees no basis in the document or the privilege log
justifying these redactions.
Email Regarding Press and Developer Briefing
         PRIV-APL-EG_00086696 is an email chain involving 10 Apple employees: members of
Apple’s public relations team (including Ms. Goldberg, a witness before this Court in the
February contempt hearing), Apple’s business team (including Carson Oliver, another witness in
the May and February contempt hearing) and two Apple in-house counsel (Ling Lew and
Jennifer Brown). The two lawyers do not appear to participate in the conversation at all. The
email chain discusses the plan for the business team to prepare a presentation for “briefings with
press and developers”, and specifically notes that it should “rely on the visuals and language that
is in the developer N&A and Support page”—a public-facing web page. (PRIV-APL-
EG_00086696 at ‘698.) Apple has redacted the top email from Hannah Smith, a non-lawyer
corporate communications employee at Apple. Discussion of briefings with press and
developers is not a request for legal advice, nor is a discussion of “developer outreach” as Apple
claims in its privilege log. Epic sees no basis in the document or the privilege log justifying
these redactions.




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Communications Questions and Answers From July 2023
        PRIV-APL-EG_00094954 is an email with the subject “FOR REVIEW: Wisconsin QA”
sent from Sean Cameron to Marni Goldberg and copying a group of business people and in-
house counsel. Emails from this chain have been produced to Epic already with various
redactions. Epic is objecting to the redactions in this document notwithstanding having other
produced versions of this document for the avoidance of doubt only, so as to prevent any
potential argument by Apple that it may claw back documents previously produced in less-
redacted form.
         In this email chain, Ms. Goldberg is soliciting feedback from “Legal and App Store
Colleagues” on a question and answer document to be used by the communications team. It is
clear that Ms. Goldberg’s email did not solicit only or primarily legal advice, but Ms. Goldberg’s
entire request has been redacted. (PRIV-APL-EG_00094954 at ‘955, ‘956 and ‘958.) Epic
recently challenged several versions of this email chain (Dkt. 1332 at 3), and Apple stated in its
Response that it “will produce” “without redaction” the document containing Ms. Goldberg’s
initial email request. (Dkt. 1342 at 4.) This email chain should not have this text redacted,
either.
        Furthermore, Ann Thai’s comments in response to Ms. Goldberg’s request are also
redacted. (PRIV-APL-EG_00094954 at ‘957.) Ms. Thai is on the App Store business team and
is not a lawyer. Ms. Thai’s response is repeated on the second page of this document with no
redaction. (PRIV-APL-EG_00094954 at ‘955.) It is clear that her response is purely a business
person’s musings about what “a smart reporter” might ask. Her comments should not be
redacted.
        Apple’s privilege log claims that these redactions were made because they “reflect legal
advice from counsel regarding injunction compliance press and communications legal strategy”.
This description is inaccurate—the replies from attorneys do not contain legal advice and the
reply from Ms. Thai does not disclose the contents of any legal advice.
Communications Emails Regarding Dutch Regulation
        PRIV-APL-EG_00126442 is an email exchange between the Apple U.S. communications
team and the European communications team discussing a case brought against Apple by the
Authority for Consumers and Markets (“ACM”), a Dutch regulator. While communications
employees are discussing a topic that has legal overtones, it is unlikely that communications
employees are writing entire paragraphs of legal advice that warrant the extensive redactions
seen on the first two pages of this document. Apple’s privilege log claims that the redacted text
reflects legal advice from counsel, but as this Court noted before, unless the document discloses
the contents of legal advice, the document is not privileged. (Dkt. 1056 at 1-2.) Any redactions
should be specific and confined to only sentences that disclose actual legal advice.
July 6, 2023 Press Briefing Deck
        PRIV-APL-EG_00138531 is a slide deck titled “Epic Injunction Compliance Press
Briefing” sent on July 6, 2023. Epic already has several versions of this deck, including the
version admitted during the February 2025 Evidentiary Hearing as CX-0529. CX-0529 appears
to be a more complete draft of the deck in question. Epic is objecting to the redactions in this
document only to preempt any attempt by Apple to claw back documents that were admitted

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during the hearing with differing redactions. Page 2 of the slide deck merely outlines the
information that should go in the slide—none of which is legal advice. (CX-0529.6.) Pages 4
and 5 of the slide deck walk through changes made to the App Review Guidelines and should not
be redacted. (CX-0529.8-9.)




 DATED: March 14, 2025                            CRAVATH, SWAINE & MOORE LLP
                                                  By: /s/ Yonatan Even
                                                  Counsel for Plaintiff Epic Games, Inc.




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